           Case 4:23-cv-04155-YGR Document 351-2 Filed 07/23/24 Page 1 of 3




 1 JESSE LASLOVICH
   United States Attorney
 2 MADISON L. MATTIOLI                              MARK STEGER SMITH
     MT Bar No. 36411284                             MT Bar No. 4160
 3 ABBIE J.N. CZIOK                                 TIMOTHY A. TATARKA
     MT Bar No. 55781377                             CA Bar No. 277219
 4 Assistant U.S. Attorneys                         Assistant U.S. Attorneys
    U.S. Attorney’s Office                          U.S. Attorney’s Office
 5 901 Front Street, Suite 1100                     James F. Battin Federal Courthouse
    Helena, MT 59626                                2601 2nd Ave. North, Suite 3200
 6 Phone: (406) 457-5269 – Madison                  Billings, MT 59101
         (406) 457-5268 – Abbie                     Phone: (406) 247-4667 – Mark
 7 Fax: (406) 457-5130                                      (406) 247-4642 – Tim
    Email: madison.mattioli@usdoj.gov               Fax: (406) 657-6058
 8               abbie.cziok@usdoj.gov              Email: mark.smith3@usdoj.gov
                                                         timothy.tatarka@usdoj.gov
 9
   Attorneys for Federal Defendants and
10 Defendant United States of America.

11

12                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13
     CALIFORNIA COALITION FOR WOMEN                     Case No. 4:23-cv-04155
14
     PRISONERS; et al.,
15                                                      [PROPOSED] ORDER GRANTING
                         Plaintiffs,                    MOTION TO UNSEAL COURT
16                                                      RECORDS AND PROTECT
                                                        ACCESS TO PUBLIC
17                       v.                             PROCEEDINGS

18   UNITED STATES OF AMERICA; UNITED
     STATES OF AMERICA FEDERAL BUREAU OF                Judge: Yvonne Gonzalez Rogers
19
     PRISONS, et al.,                                   Date: July 16, 2024
20                                                      Time: 2:00 p.m.
                         Defendants.                    Courtroom: 1 (Fourth Floor)
21

22

23

24

25

26

27

28

     [PROPOSED] ORDER GRANTING MOTION TO UNSEAL COURT RECORDS AND PROTECT ACCESS TO PUBLIC
     PROCEEDINGS                                                       Case No. 4:23-cv-04155
           Case 4:23-cv-04155-YGR Document 351-2 Filed 07/23/24 Page 2 of 3




 1             [PROPOSED] ORDER GRANTING MOTION TO UNSEAL COURT RECORDS

 2         Upon consideration of Intervenors’ Motion to Unseal Court Records and Protect Access to Public

 3 Proceedings (Dkt. No. 317) and subsequent pleadings, and in light of Federal Defendants conceding that

 4 there are no longer compelling reasons to seal certain court records, this Court GRANTS Intervenors’

 5 motion in part and makes the following findings and orders.

 6      1. Intervenors moved to unseal all sealed motions to seal and their attach ments: Dkt. Nos. 45, 75,

 7         159, 162, 168, 176, 242, 244, 251. Federal Defendants agree that the motions to seal were

 8         improperly filed under seal.

 9         IT IS HEREBY ORDERED that Dkt. Nos. 45, 45-1, 45-2, 45-3, 75, 75-1, 75-2, 159, 159-1,

10         159-2, 159-4, 162, 162-1, 162-2, 168, 168-1, 168-2, 176, 176-1, 176-2, 242, 242-1, 242-2, 244,

11         244-1, 244-2, 251, 251-1, and 251-2 shall be unsealed.

12      2. Intervenors moved the Court to unseal all attachments to Dkt. Nos. 45, 75, 143, 159, 162, 168,

13         176, 178, 184, 191, 197, 199, 204, 206, 209, 236, 239, 242, 244, 247, 251, 258, 263 , and 292.

14         Federal Defendants agree that there are no compelling reasons justifying the sealing of

15         documents and excerpts contained in Dkt. Nos. 143-3 through 143-5, 178-3, 197-4, 197-5, 236-4,

16         258-3, 258-4, and 263.

17         IT IS HEREBY ORDERED that the sealed documents and excerpts contained in Dkt. Nos.

18         143, 143-3 through 143-5, 178-3, 197-4, 197-5, 236-4, 251-3, 258-3, 258-4, and 263-3 shall be

19         unsealed.

20      3. IT IS FURTHER ORDERED that Federal Defendants will lodge with the clerk updated or

21         redacted copies of Dkt. Nos. 159-3, 162-3 through 162-15, 168-3 through 168-10, 197-4, 197-5,

22         239-3, 239-4, 242-3, 242-4, 244-4, 244-5, 244-6, and 251-3, to replace the sealed documents

23         within 21 days of entry of this Order.

24         /

25         /

26         /

27         /

28         /

     [PROPOSED] ORDER GRANTING MOTION TO UNSEAL COURT RECORDS
                                              2                                      Case No. 4:23-cv-04155
           Case 4:23-cv-04155-YGR Document 351-2 Filed 07/23/24 Page 3 of 3




 1        The clerk of court is directed to unseal documents as outlined in this Order.

 2        IT IS SO ORDERED.

 3

 4 DATED: ____________, 2024

 5
                                                    _____________________________
 6                                                  The Honorable Judge Yvonne Gonzalez Rogers
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     [PROPOSED] ORDER GRANTING MOTION TO UNSEAL COURT RECORDS
                                              3                                  Case No. 4:23-cv-04155
